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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                    LOUISVILLE DIVISION

 ERIN MURRAY,                                                                            Plaintiff,

 v.                                                       Civil Action No. 3:18-cv-96-DJH-RSE

 UNUM LIFE INSURANCE COMPANY OF
 AMERICA,                                                                               Defendant.


                                             * * * * *

                                           JUDGMENT

           Pursuant to Rule 58 of the Federal Rules of Civil Procedure, and in accordance with the

 Memorandum Opinion and Order entered this date, it is hereby

           ORDERED and ADJUDGED as follows:

           (1)      Judgment is entered in favor of Defendant Unum Life Insurance Company of

 America with respect to all claims asserted in this matter by Plaintiff Erin Murray.

           (2)      This action is DISMISSED with prejudice and STRICKEN from the Court’s

 docket.

           (3)      This is a FINAL and APPEALABLE Judgment, and there is no just cause for

 delay.

           December 20, 2019




                                                         David J. Hale, Judge
                                                      United States District Court




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